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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
            Plaintiff(s),                       )
                                                )
      vs.                                       )           Case No. 4:10CR517 JCH
                                                )
CATHY GOODSON,                                  )
CANDI GOODSON,                                  )
YOLANDA WILLIS, and                             )
ANNKESHA WELCH,                                 )
                                                )
            Defendant(s).                       )


                                            ORDER

       This matter is before the Court on Defendants’ various pre-trial motions. Pursuant to 28

U.S.C. § 636(b), this matter was referred to United States Magistrate Judge Terry I. Adelman, who

filed a Report and Recommendation on November 23, 2011. (ECF No. 212). Defendants Candi

Goodson and Cathy Goodson submitted their respective objections thereto on December 7, 2011.

(ECF Nos. 213, 214). Defendant Annkesha Welch submitted her objections thereto on December

8, 2011. (ECF No. 216).

       In his Report and Recommendation, Magistrate Judge Adelman recommends that Defendants’

motions be denied. After de novo review of the entire record in this matter, this Court adopts the

Magistrate Judge’s recommendation that Defendants’ motions be denied.

       Accordingly,

       IT IS HEREBY ORDERED that the Report and Recommendation of the United States

Magistrate Judge (ECF No. 212) is SUSTAINED, ADOPTED, AND INCORPORATED herein.

       IT IS FURTHER ORDERED that Defendant’s Motion to Dismiss Indictment or in the

Alternative for Bill of Particulars (Defendant Cathy Goodson) [ECF No. 185] is DENIED.
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       IT IS FURTHER ORDERED that Defendant’s Motion to Dismiss Indictment or in the

Alternative for Bill of Particulars (Defendant Candi Goodson) [ECF No. 172] is DENIED.

       IT IS FURTHER ORDERED that Defendant’s Motion to Dismiss Superseding Indictment

(Defendant Annkesha Welch) [ECF No. 182] is DENIED.

       IT IS FURTHER ORDERED that Defendant’s First Amended Motion to Suppress

Statements (Defendant Annkesha Welch) [ECF No. 163] is DENIED.

       IT IS FURTHER ORDERED that Defendant’s Motion to Suppress Statements (Defendant

Candi Goodson) [ECF No. 174] is DENIED.

       IT IS FURTHER ORDERED that this matter will be set for a JURY trial on Monday,

January 9, 2012, at 9:00 a.m. in the courtroom of the undersigned.



Dated this 12th day of December, 2011.



                                               /s/Jean C. Hamilton
                                               UNITED STATES DISTRICT JUDGE




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